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5    DEBORAH STRAITER
6
                     IN THE UNITED STATES DISTRICT COURT
7                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
8

9
     DEBORAH STRAITER                         ) Case No.: 2:18-cv-4839
10                                            )
                                              ) NOTICE OF SETTLEMENT
11                Plaintiff.                  )
                                              )
12         v.                                 )
                                              )
13                                            )
     COMENITY BANK,                           )
14                                            )
                                              )
15                Defendant.                  )
                                              )
16

17         NOW COMES Plaintiff, DEBORAH STRAITER, through attorneys,
18   WESTGATE LAW, and hereby notifies this Court that a settlement of the present
19   matter has been reached and is in the process of finalizing settlement, which Plaintiff
20   anticipates will be finalized within the next sixty (60) days.
21         Plaintiff therefore respectfully requests this Honorable Court vacate all dates
22   currently scheduled for the present matter.
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                                     NOTICE OF SETTLEMENT
                                              -1-
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2
     Date: January 29, 2019                  RESPECTFULLY SUBMITTED,
3

4
                                             By:/s/ Matthew A. Rosenthal
                                                    Matthew A. Rosenthal
5
                                                    Attorney for Plaintiff,
                                                    DEBORAH STRAITER
6
                              CERTIFICATE OF SERVICE
7
       I hereby certify that on January 29, 2019, I filed the forgoing document with the
8
     Clerk of the Court using the CM/ECF System. Notice of said filing was served via
9
     e-mail transmission to the following:
10

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14
                 COMENITY BANK

15
                                                   By:/s/ Matthew A. Rosenthal
16
                                                          Matthew A. Rosenthal

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                                    NOTICE OF SETTLEMENT
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